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              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


American Society for Testing and
Materials; National Fire Protection
Association, Inc.; American Society
of Heating, Refrigerating, and Air-
Conditioning Engineers, Inc.,

                Plaintiffs - Appellants             No. 22-7063

        v.

Public.Resource.Org, Inc.,

                Defendant - Appellee


  APPELLANTS’ EXPEDITED MOTION TO EXCEED LENGTH
               LIMIT FOR REPLY BRIEF

        Pursuant to D.C. Circuit Rule 27(h) and Federal Rule of Appellate

Procedure 27, Plaintiffs American Society for Testing and Materials d/b/a

ASTM International (“ASTM”), National Fire Protection Association, Inc.

(“NFPA”), and American Society of Heating, Refrigerating, and Air-

Conditioning Engineers, Inc. (“ASHRAE”) (collectively, “Plaintiffs”)

respectfully move to exceed the word limitation set by Federal Rule of

Appellate Procedure 32(a)(7)(B) for their Reply Brief Due January 13,

2023.        Plaintiffs respectfully request expedited consideration of this



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motion to avoid irreparable harm in view of the January 13, 2023 filing

deadline for their reply brief.     Defendant Public.Resource.Org, Inc.

(“PRO”) has indicated that it will oppose this motion.

     Good cause supports this motion, as explained below, primarily due

to the need to respond to (1) PRO’s proposed alternative ground for

affirmance and (2) nine amicus briefs totaling over 40,000 words.

Moreover, Plaintiffs’ requested increase of 2,000 words is reasonable.

     This case concerns PRO’s copying and distribution of hundreds of

Plaintiffs’ copyrighted standards, many of which have been incorporated

by reference into statute or regulation. It is before this Court for the

second time.     See Am. Soc’y for Testing & Materials, et al. v.

Public.Resource.Org, Inc., 896 F.3d 437 (D.C. Cir. 2018).

     In the first appeal, this Court understood both Plaintiffs and PRO

to be seeking “a bright-line rule either prohibiting (the [Plaintiffs]) or

permitting (PRO) all of PRO’s uses of every standard incorporated by

reference into law.” Id. at 446. This Court ultimately concluded that it

should “address only the statutory fair use issue” at that time, id. at 447.

Accordingly, this Court remanded the case to the district court with




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instructions to “weigh the [statutory fair use] factors as applied to PRO’s

use of each standard” in issue. Id. at 449.

     On remand, the parties cross-moved for summary judgment as to

217 of Plaintiffs’ standards. The district court granted in part and denied

in part both motions. The district court rejected PRO’s fair use defense

as to 32 standards that PRO had not shown were even incorporated by

reference, but the district court found fair use for 185 standards where

PRO had identified some past or current incorporating statute or

regulation. Despite finding infringement, the district court denied a

permanent injunction as to the 32 standards where it concluded PRO’s

fair use defense failed.

     Plaintiffs appeal the district court’s fair use ruling and the district

court’s refusal to enter a permanent injunction with respect to the 32

copyrighted works that the district court found that PRO infringed.

Plaintiffs’ Brief, Dkt. 1964641.

     In PRO’s response brief, it spent a substantial portion of its brief

arguing an alternative grounds for affirmance not raised in Plaintiffs’

opening brief—whether standards retain their copyright after they are

incorporated by reference into law. Defendant’s Brief, Dkt. 1973632.



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Additionally, nine amicus filed briefs in support of PRO, totaling 43,764

words, addressing both PRO’s alternative grounds for affirmance and the

fair use issues that form part of the original basis of this appeal.

      Plaintiffs diligently attempted to respond within the word limit, but

Plaintiffs respectfully submit that the existing word limit prejudices

Plaintiffs’ ability to adequately reply to the portions of the ten briefs filed

in support of PRO that address the fair use and permanent injunction

issues that Plaintiffs raised on appeal and address the issue of whether

standards retain their copyright protection after they are incorporated

by reference. This Court already concluded that the issues that PRO

raised for the first time in its response brief “raise[] a serious

constitutional concern,” id. at 447, and would “creat[e] a number of sui

generis caveats to copyright law,” id.        Before this Court addresses

constitutional issues and potentially creates judicial caveats to the

Copyright Act, Plaintiffs should have a full and fair opportunity to brief

those issues, especially in light of this Court’s previously recognition of

“the economic consequences that might result from [Plaintiffs] losing

copyright,” id.




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       Plaintiffs do not believe that exceeding the word count will

prejudice PRO. PRO already dedicated 12 pages (an almost 2,500 words)

in its argument section alone to the question of whether Plaintiffs lose

copyright protection upon incorporation by reference. In addition, PRO

only had to address three amicus briefs filed in support of Plaintiffs,

totaling 13,457 words, whereas Plaintiffs must address the issues raised

in nine amicus briefs filed in support of PRO, totaling 43,764 words.

Under these circumstances, even if the Court grants Plaintiffs’ request

for an additional 2,000 words in their reply, the total amount of briefing

filed in support of Plaintiffs will be dwarfed by the briefing in support of

PRO.

                REQUEST FOR EXPEDITED ACTION

       Plaintiffs seek the Court’s expeditious consideration of this motion

so that they have sufficient time to prepare their Reply brief ahead of the

January 13, 2023 filing deadline and to avoid irreparable harm.

Plaintiffs request a decision by January 6, 2023, or as soon thereafter as

possible. Plaintiffs worked expeditiously to prepare the instant motion

after reviewing PRO’s response brief, filed on November 15, 2022, and

the nine amicus curiae briefs filed on December 12, 2022.



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                             CONCLUSION

     For the reasons set forth above, Plaintiffs respectfully request that

leave be granted for Plaintiffs to file a Reply brief of no more than 8,500

words.

Dated: December 21, 2022        Respectfully submitted,

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                CERTIFICATE OF COMPLIANCE

     This document complies with the word limit of Fed. R. App. P.

27(d)(2) because this document contains 879 words as measured by the

word-processing system used to prepare this brief, excluding exempted

parts.

     This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because it has been prepared in a proportionally spaced typeface in 14

point font.



Dated: December 21, 2022                         s/J. Kevin Fee
                                                  J. Kevin Fee




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                     CERTIFICATE OF SERVICE

     The undersigned hereby certifies that on the 21st day of

December, 2022, a true and correct copy of APPELLANTS’

EXPEDITED MOTION TO EXCEED LENGTH LIMIT FOR REPLY

BRIEF was electronically filed through the CM/ECF system, which

caused all parties to be served by electronic means.



Dated: December 21, 2022                          s/J. Kevin Fee
                                                   J. Kevin Fee




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